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                                                 August 30, 2018

Via ECF Ony

Hon. P. Kevin Castel
Courtroom 11D
500 Pearl Street
New York, NY 10007

          Re:        Humane Consumer LLC v. COB Ecommerce Empire LLC et al, 1:18-cv-05622-
                     PKC

Your Honor:

         This joint letter is submitted pursuant to your Order dated June 25, 2018, concerning the
Initial Pretrial Conference scheduled for September 6, 2018, at 12:30 p.m. Enclosed with this
letter please find a jointly proposed Case Management Plan.

        The complaint alleges violation of state and federal laws regarding false advertising,
tortious interference, unfair competition, public deception and unjust enrichment by Humane
Consumer LLC against COB Ecommerce Empire LLC d/b/a Keeva Organics, Crawford and
O’Brien LLC, Charles Crawford, Michael O’Brien and Amazon.com, Inc. Amazon.com, Inc.
has been voluntarily dismissed. Counsel has appeared for COB Commerce Empire LLC and
Charles Crawford (“COB Defendants”), which defendants deny all liability and anticipate filing
a counterclaim based on, inter alia, unfair trade practices. The facts address statements on the
COB Defendants’ website and in its registered trademarks. The counterclaim will address acts
of Plaintiff as a competitor of the COB Defendants. COB Defendants also contend that Plaintiff
has not been damaged and no statements have been made directly regarding any of Plaintiff’s
products.

        Counsel for COB Defendants has agreed to accept service of process by mail, while
reserving all rights, and Counsel for Plaintiff has agreed to extend the deadline for COB
Defendants to respond to the Complaint to October 1, 2018. It is respectfully requested that the
Court grant and/or so-order this extension of time for COB Defendants to respond to the
complaint. No such requests have been previously made.



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        At this juncture, contemplated motions include a motion to dismiss for lack of personal
jurisdiction on behalf of Charles Crawford and a motion to transfer for improper venue on behalf
of the COB Defendants.

        Initial settlement discussions were held with between Plaintiff’s counsel and
Amazon.com’s attorney when that dismissal was being discussed. COB Defendants through
their own counsel have not yet had settlement discussions.

Dated: August 30, 2018
New York, New York


Respectfully submitted,                          Respectfully submitted,
Paul W. Siegert                                  Clark Hill PLC
/s/ Paul W. Siegert                              /s/ Boris Brownstein
Paul W. Siegert                                  Boris Brownstein
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